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                              Rep. Ex.
                                 1
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     ALEKSEJ GUBAREV vs BUZZFEED                                                1

·1· · · · · ·UNITED STATES DISTRICT COURT
· · · · · · ·SOUTHERN DISTRICT OF FLORIDA
·2· · · · · · · · · MIAMI DIVISION

·3

·4· ·ALEKSEJ GUBAREV, XBT· · :
· · ·HOLDING S.A., and· · · ·:
·5· ·WEBZILLA, INC.,· · · · ·:
· · · · · · · · · · · · · · ·:
·6· · · · · Plaintiffs,· · · : Case No:
· · · · · · · · · · · · · · ·: 1:17-cv-60426-UU
·7· ·v.· · · · · · · · · · · :
· · · · · · · · · · · · · · ·:
·8· ·BUZZFEED, INC., and· · ·:
· · ·BEN SMITH,· · · · · · · :
·9· · · · · · · · · · · · · ·:
· · · · · · Defendants.· · · :
10

11

12· · · · · · · · ·**CONFIDENTIAL**

13· · · · DEPOSITION OF ANTHONY J. FERRANTE

14

15· · · · · · · ·Friday, July 27, 2018

16· · · · · · · · · · 10:20 a.m.

17

18· · · · · · · ·Davis Wright Tremaine
· · · · · · 1919 Pennsylvania Avenue, N.W.
19· · · · · · · · ·Washington, D.C.

20

21· · · · ·Terry L. Bradley, Court Reporter

22


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     ALEKSEJ GUBAREV vs BUZZFEED                                                6

·1· · · · · · · · P R O C E E D I N G S

·2

·3· · · · · · · · ANTHONY J. FERRANTE

·4· · having been first duly sworn, testified as

·5· · follows:

·6

·7· · · · · · · · · · ·EXAMINATION

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · Good morning.

10· · · ·A.· · Good morning.

11· · · ·Q.· · Would you please state your name for

12· ·the record.

13· · · ·A.· · Anthony Ferrante.

14· · · ·Q.· · And Mr. Ferrante, can you tell me,

15· ·have you ever been deposed before?

16· · · ·A.· · I have not.

17· · · ·Q.· · So the ground rules are pretty

18· ·simple, I think.· I'll try and ask you a series

19· ·of questions, you'll get a chance to answer.

20· ·If I ask you a question and you respond to it,

21· ·I will assume that you understood the question.

22· ·Is that fair?


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·1· ·you work on while at the FBI or National

·2· ·Security Council?

·3· · · · · · ·MS. BOLGER:· I'm going to object as

·4· ·vague.

·5· · · · · · ·But you can answer.

·6· · · · · · ·THE WITNESS:· So while I was on the

·7· ·National Security Council, again I was the

·8· ·Director For Cyber Security Response and I

·9· ·choreographed U.S. Government response efforts

10· ·to significant cyber events affecting the

11· ·United States, domestic and abroad.· Leading

12· ·into the 2016 Presidential Election I worked on

13· ·the National Security Council and choreographed

14· ·the interagency response efforts to the

15· ·targeting of the 50 states, and I led the

16· ·preparedness and response efforts specific to

17· ·cyber security, significant cyber security

18· ·events that may or could take place leading up

19· ·to and on election day in 2016.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · When you say "the targeting of the

22· ·50 states", what are you referring to?


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     ALEKSEJ GUBAREV vs BUZZFEED                                              197

·1· · · · · · ·DEPOSITION ERRATA SHEET

·2· ·Our Assignment No. J2466840

·3· ·Case Caption:

·4· ·Aleksej Gubarov

·5· ·vs.

·6· ·BuzzFeed

·7

·8· · · · DECLARATION UNDER PENALTY OF PERJURY

·9· · · I declare under penalty of perjury that I

10· ·have read the entire transcript of my

11· ·Deposition taken in the captioned matter or the

12· ·same has been read to me, and the same is true

13· ·and accurate, save and except for changes

14· ·and/or corrections, if any, as indicated by me

15· ·on the DEPOSITION ERRATA SHEET hereof, with the

16· ·understanding that I offer these changes as if

17· ·still under oath.

18

19· ·Signed on the________day of ____________, 2018.

20· · ·________________________________

21· · ·Anthony J. Ferrante

22


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·1· · · · · · ·CERTIFICATE OF NOTARY PUBLIC

·2· · · · · ·I, Terry L. Bradley, the officer before

·3· ·whom the foregoing deposition was taken, do

·4· ·hereby certify that the witness whose testimony

·5· ·appears in the foregoing deposition was duly

·6· ·sworn by me; that the testimony of said witness

·7· ·was taken by me in shorthand and thereafter

·8· ·reduced to computerized transcription under my

·9· ·direction; that said deposition is a true

10· ·record of the testimony given by said witness;

11· ·that I am neither counsel for, related to, nor

12· ·employed by any of the parties to the action in

13· ·which this deposition was taken; and further,

14· ·that I am not a relative or employee of any

15· ·attorney or counsel employed by the parties

16· ·hereto, nor financially or otherwise interested

17· ·in the outcome of the action.

18
· · · · · · · · · · · ____________________________
19· · · · · · · · · · Notary Public in and for
· · · · · · · · · · · the District of Columbia
20
· · ·My Commission expires:· April 30, 2022
21

22


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